Case 2:03-cr-20417-SH|\/| Document 109 Filed 05/11/05 Page 1 of 2 Page|D 135

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IN TI-:E UNITED sTATEs DISTRICT coURT /-
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FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. 03m204l7-02-Ma

VS.

CHRISTOPHER MARSHALL,

~_/~_,~__/~__/\_/~__/~_¢~.¢`__¢

Defendant.

 

ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on May 10, 2005, the United
States Attorney for this district appearing for the Government and
the defendant, Christopher Marshall, appearing in person and with
appointed counsel, Mr. Marty McAfee.

With leave of the Court, the defendant entered a plea of
guilty to Count 2 of the Indictment. Plea colloquy was held and
the Court accepted the guilty plea.

Sentencing in this matter is Set for Thursday, August 18, 2005
at 1:30 p.m.

The defendant is remanded to the custody of the United States
Marshal.

)HL

ENTERED this the day of May, 2005.

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with Hu|e 55 ande?tered en the docket sh jo 25 S EL H ` MAYS ' JR '
°r 32“’) FHCFP O" UNITED sTATEs DISTRICT JUDGE

 

 

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Honorable Samuel Mays
US DISTRICT COURT

